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AO 91(Rev.11/11)Crim'
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                United StatesOfAm erica                                                     s'r:vEFN hJ,wqnlMoqu
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                           v.                                                                SD OFF)iA W.R:.
                                                                  CaseNo.
                 ScottJosephTRADER                                          17-60-W M




                                           C RIM G A L CO A L               T
        1,the complainantin thisc% e,sote thatthe following istrueto the bestofmy know ledgeand belief.
Onoraboutthedatets)of 9/30/15toonorabout6/1/2017 in thecountyof                              St.Lucie              inthe
   Southern    Districtof     Florida      ,thedefendantts)violated:
           CodeSection                                             O-/ ztçcDescri
                                                                                ption
18U.S.C.jj22524a)42)                      ReceivingandDistributingMateri
                                                                       allnvolvingtheSexualExploi
                                                                                                tationof
                                          M inors.

18U.S.C.jj2251(a)                         Employing,Using,Persuading,lnducing,EnticingorCoerci
                                                                                             nga Minorto
                                          Engage in Sexually ExplicitActi
                                                                        vityforthe Purpose ofProducing anyVisual
                                          Depiction ofSuch Conduct


        n iscriminalcomplaintisb% ed on thesefacts'
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        V Continuedontheattachedsheet.

                                                                                  Complainant'
                                                                                             .
                                                                                             vsi m fure
                                                                    S/A Brian Ray,Homeland Security Investigations
                                                                                   Printed ncraeand title

Sworntobefore meand signed in my presence.


oate: o o e. l a-o ly                                                                Judge' si fure

City andstate:              W estPalm Beach,Florida                   W illiam M atthew m an,U.S.. M agistrate Judge
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                                                                                            zm e andtitle
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                                 A F F IDA V IT
                                       OF
                                 Brian Ray
                              SPEC IA L A GEN T
                 H OM EL AHR SE CUR ITY INV E ST IGA T ION S


     Brian Ray , after being duly sworn , depose and state :


             I am a Special Agent (SA ) employed by Homeland Security
 Investigations (HSI), having been so employed since March 2003 .
 From 2001 to 2003 , I was employed by the U .S . Custom s Service as

 a Special Agent . From 1994 to 2001,             was employed as a deputy

 sheriff      Florida . From 1985 to 1994 ,           served as a U .S . Air

 Force Security Policeman .        have been assigned to the

 investigation of cases involv ing the sexual exploitation of

 children . These investigations have included the utilization of

 surveillance techniques , undercover activities, the interviewing

 of subjects and witnesses, and the planning and execution of
 search and arrest warrants .         have received formal training on

 the aforementioned investigations at the Federal Law Enforcement

 Training Center, HSI Cyber Crimes Center and at Internet Crimes

 Against Children Conferences .



             I am an investigative or law enforcement officer of the

 United States within the meaning of Section 2510 (7) of Title 18
 United States Code . That is,         am an officer of the United

 States, who is empowered by law to conduct investigations of and
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  make arrests for , offenses enumerated in Title 18, United States

  Code, Sections 2251, 2252 , 2422, et seg .



             I have participated in investigations involving

  pedophiles, preferential child molesters, and persons who collect

  and/or distribute child pornography, along with the importation
  and distribution of materials relating to the sexual exp loitation

     children .   I have received training in the area of child
                   (
                   ,        .                        '

  pornography and child exploitation through the U .S . Customs

  Academy and HSI Cyber Crimes Center .       I have completed the

  Treasury Computer Forensic Training Program 's Basic and Advanced

  Computer Evidence Recovery courses and I am currently assigned as

  a HSI computer forensic examiner . I have observed and reviewed

  examples, and assisted in numerous child pornography and child

  exploitation investigations, which have involved rev iewing

  examples of evidence in all forms of media including computer

  media, and have discussed and reviewed these materials with other

  law enforcement officers.



       4.    I am conducting an investigation involving the sexual

  exploitation of children and related activities of the individual

  named herein , Scott Joseph TRQDER .       am fam iliar with the facts

  and circumstances surrounding this investigation from my own

  investigative efforts , as well as from information obtained from
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  other law enforcement officers with personal knowledge of the

  evidence and activities described herein . Although familiar with

  the facts and circumstances of this investigation ,          have not
  included each and every fact known to me about the matters set

  forth herein , but only those facts that I believe are necessary

  to establish probable cause to believe that Scott Joseph TRADER

 violated 18 U.S.C. 55 2252 (a)(2), which makes it a crime to
  transport, distribute, receive apd/or possess child pornography,
 or attemp t to do so, and 18 U .S .C . 55 225l(a), Which makes it a

 crime to employ , u se, persuade , induce , entice or coerce a minor

 to engage in sexually explicit activity for the purpose of

 producing' any visual depiction of such conduct .



            On 30 May 2017 , the Thomasv ille Police Department , North

 Caro lina , received a comp laint from the stepfather of a 9 y ear

 old v ictim . The complainant reported his discovery of explicit

 chat communications between the victim and her chat partner

 nScott'' on Smartphone Application #l. The complainant provided
 the v ictim 's mobile device to police for examination . The

 Thomasville Police Department requested the assistance of HSI

 W inston -salem in furthering the investigation .



           HSI Winston -salem 's exam ination       the victim 's dev ice

 revealed text communications with Scott on the evening of 30 May
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  2017, using Smartphone Application #1. The victim provided Scott
  p ictures which clearly indicated she was a preteen female . Scott

  requested nude images from the victim and transmitted a child

  pornography video to the v ictim . The v ideo was a 37 second long

  depiction of an adult male rubbing his penis on the vagina of a

  preteen female . Scott claimed the female depicted in the video

  was                 scott also sent a masturbation video to the

  victim , along with a still image which depicted Scott's face .



        7. Scott had a profile on Smartphone Application #1. The
  profile had a picture of his face , along with an apparent minor

  female . The face dep icted in the still image transm itted to the

  victim matched the Scott profile image . Scott also listed his

  username for Smartphone Application #2.



        8. Smartphone Application #2 was sent an emergency
  disclosure reguest for the subscriber information associated with

  the user name provided in the Smartphone Application #1 uScott''
  user profile. Smartphone Application #2 responded, indicating the
  email account associated with the account was

  straderozz7@yahoo .com . Smartphone Application #2 also provided a
  login history, indicating th ere were logons to the account from

  IP address 76 .110.46 .234 starting l May 2017, through 31 May

  2017, at 06 :36 UTC . The IP address is registered to Comcast . The
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 Smartphone Application #2 profile picture matched the
 aforementioned uScott'' profile and still image pictures .



            Comcast was sent an emergency disclosure request for

 information associated with the subscriber assigned IP address

 76 .110.46 .234 on 31 May 2017 at 06 :36 UTC . Comcast responded ,

 identifying the subscriber as Shelly Trader , 1189 SW Edinburgh

 Drive , Port St . Lucie, Florida, 34953 .



       10 . A check of the Florida Department of Highway Safety and

 Motor Vehicle (DHSMV) records indicated that on l August 2016,
 Scott TRXDER , listed h is mailing address as 1189 SW Edinburgh

 Drive , Port St . Lucie, Florida , 34953 . TRADER 'S Driver License

 photograph matches the aforementioned ''Scott'' user profile and

 transmitted images .



             On 31 May 2017, at 11 :51 PM , Magistrate Judge W illiam

 Matthewman signed a federal search warrant authorizing the search

 of        SW Edinburgh Drive , Port St. Lucie, Florida . On 1 June

 2017 , at approximately 1 :10 AM , I executed the search warrant .



            Scott Joseph TRADER was located in the residence in a

 bedroom he shares with his wife . After being advised of his

 rights, TRAD ER invoked his right to counsel .
                                                                                  t
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        l4 . From the floor under a DVD storage cab inet in TRKDER 'S

  bedroom , concealed behind a toe board , a Samsung smartphone , an

  LG smartphone, nine SD cards and a Western Digital hard drive

  were recovered .



       i5. A p relim inary exam of the Samsung smartphone , marked

  l&Made in China'
                 ', revealed       contained an SD card . The card

  appeared to be used as additional storage for the phone , with

  folders for various applications . One         the folders was for the

  aforementioned Smartphone Application #2. Smartphone Application

  #2 is a chat and messaging application capable of sending image
  and video files . The folder path was consistent with a folder

  that was being used to store images and videos sent and received

 via Smartphone Application #2. There was an image of TEADER,
  dated 5 October 2016, seated on a couch with his pants pulled

 down , exposing his erect penis .               fou: year old

  is hugging TRQDER and looking at the camera as TRADER took a

  uselfie'' style photograph                       inches away from his

 erect penis . The folder also contained several videos , dated 9

 September 2016, of TRXDER digitally peneirating the vagina of a
 preteen girl
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        I6 . A preliminary exam of the Western Digital hard driv e

  revealed it contained multiple folders with over a thousand

  images and videos of suspected child pornography . One of the

  folders was titled , ''pics of me with kids .'' The folder contained

  num erou s   images of TKA DER engaged in sexual explicit conduct with

       four year old              including the victim performing orql

  sex on TRXDER . The images appear to date from the September 2015

  timeframe , when the victim was two years old .


 Further , your affiant sayeth naught .




                                          Brian Ray
                                          Special Agent
                                          Homeland Security
                                          Investigations



 sworn and subscribed to before me this
                                               / LVday   of June 2017 .




                                          William Matthe an
                                          United States Magistrate Judge
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                             SOU THERN D ISTRICT OF FLORID A

                                      Case N o.17-60-W M


 IN TH E M ATTER O F THE M PLICA TION
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          StatesA ttorney'sO ffice pdorto O ctober 14,2003?                 Y es   X     No

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          Attorney'sOfficepriorto Septem ber1,2007?                 Yes     X No



                                                       BEN JA M FN G .G REEN BER G
                                                       ACTW G UN ITED STATES ATTORNEY



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